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 6   and CHRISTOPHER WILLIAMS
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 9
                           UNITED STATES DISTRICT COURT
10
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
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12
     CECILIE FOSS, an Individual; and                  CASE NO.: 2:22-cv-04751
13   CHRISTOPHER WILLIAMS, an
14   Individual                                        PLAINTIFFS’ COMPLAINT FOR
                                                       DAMAGES FOR:
15
                 Plaintiffs,
16                                                          1.   NEGLIGENCE; AND
           vs.
17                                                          2.   LOSS OF CONSORTIUM
18   UNITED STATES OF AMERICA; and
     DOES 1 to 50, Inclusive,
19

20               Defendants.
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           Plaintiffs, CECILIE FOSS (“Plaintiff Foss”), an individual, and
23
     CHRISTOPHER WILLIAMS (“Plaintiff Williams”), an individual, by and through
24
     their attorneys CARPENTER & ZUCKERMAN, hereby complain and allege against
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     the defendant, UNITED STATES OF AMERICA (“Defendant” or “Defendant
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     USA”) and DOES 1 through 50 as follows:
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     ///
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                                         COMPLAINT FOR DAMAGES

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 1      I.     INTRODUCTION
 2 1.     In this action, Plaintiffs seek to recover monetary damages for injuries they
 3        suffered as a result of a motor vehicle collision which occurred in the city of
 4        West Hollywood in Los Angeles County, California on October 22, 2019.
 5 2.     On October 22, 2019, Plaintiff Foss was operating a 2011 Jaguar SJ eastbound
 6        on Fountain Avenue toward the intersection of Hayworth Avenue in the city of
 7        West Hollywood, Los Angeles County, California.
 8 3.     At that time, Defendant’s employee, Alyssa Ashley Guerra, a United States
 9        Postal Employee, was operating a GM Grumman (hereinafter “Subject Postal
10        Vehicle”) of unknown vehicle year, and executed an unlawful left turn directly
11        in front of Plaintiff Foss’ vehicle, causing the subject collision (“Subject
12        Collision”).
13 4.     Ms. Alyssa Guerra was working as a postal delivery person employed by
14        Defendants, and each of them, and acting in the course and scope of her
15        employment with Defendant USA and DOES 1 to 50, and each of them.
16 5.     The registered owners of the Subject Postal Vehicle were defendants, and each
17        of them.
18 6.     The Subject Postal Vehicle was negligently entrusted to Ms. Alyssa Guerra by
19        each and every other defendant.
20 7.     Plaintiff Foss was severely injured in the Subject Collision and has since been
21        required to undergo numerous medical procedures.
22 8.     Plaintiff Williams is, and at all timers herein mentioned was, the husband of
23        Plaintiff Foss and brings his claims for loss of consortium resulting from the
24        injuries to his wife.
25      II.    PARTIES
26 9.     Plaintiff Foss is, and at all times relevant herein was, a resident of the County
27        of Los Angeles, State of California.
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 1 10.    Plaintiff Williams is, and at all times relevant herein was, a resident of the
 2        County of Los Angeles, State of California.
 3 11.    Defendant USA is a sovereign nation, which has subjected itself to the
 4        jurisdiction of this Court.
 5 12.    The true names and capacities of defendants sued herein as Does 1 through 50,
 6        inclusive, are unknown to Plaintiffs, who therefore sues such defendants by
 7        such fictitious names pursuant to Code of Civil Procedure § 474. Plaintiffs
 8        allege that each fictitiously named defendant acted or failed to act in such a
 9        manner that each has contributed in proximately causing the damages to
10        Plaintiffs as herein alleged. Plaintiffs will seek leave of Court to amend this
11        complaint to set forth their true names and capacities when ascertained.
12        Reference herein to “Defendant” or “Defendants” shall include reference to all
13        defendants, including all named and all fictitiously named defendants.
14 13.    Plaintiffs are informed and believe, and based upon such information and
15        belief alleges, that at all times relevant hereto, each Defendant was the owner,
16        agent, employee or employer of each of its co-Defendants, and in doing the
17        acts hereinafter mentioned, each Defendant was acting within the scope of its
18        authority and with the permission and consent of its co-Defendants, and each
19        of them, and that said acts of each defendant was ratified by said Defendant’s
20        co-Defendants.
21       III.   JURISDICTION AND VENUE
22 14.    The jurisdiction of the court over the subject matter of this action is predicated
23        and based upon, without limitation, 39 U.S.C. § 409, 28 U.S.C. § 1346 and 28
24        U.S.C. § 1367.
25 15.    Pursuant to 28 U.S.C. § 1391 venue is proper as a substantial part of the events
26        or omissions giving rise to the claim occurred within the jurisdiction of the
27        United States District Court for the Central District of California.
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 1 16.    On or about July 12, 2021, Plaintiff timely presented an administrative claim to
 2        the United States Postal Service, NTC File No. NT202144620.
 3 17.    To date, the agency has failed to make a final disposition of the claim.
 4       IV. FACTS
 5        A. The Collision
 6 18.    On October 22, 2019, Plaintiff Foss was operating a 2011 Jaguar SJ eastbound
 7        on Fountain Avenue toward the intersection of Hayworth Avenue in the city of
 8        West Hollywood, Los Angeles County, California.
 9 19.    At that time, Defendant’s employee, Alyssa Ashley Guerra, a United States
10        Postal Employee, was operating the Subject Postal Vehicle, and executed an
11        unlawful left turn directly in front of Plaintiff Foss’ vehicle, causing the
12        Subject Collision.
13 20.    Ms. Guerra operated the Subject Postal Vehicle in an unsafe manner and failed
14        to keep a proper lookout when she initiated the improper turn directly into
15        Plaintiff Foss’ path of travel causing the Subject Collision.
16 21.    Plaintiffs allege that at the time of the Subject Collision, Ms. Guerra was
17        working as a delivery person in the course and scope of her employment or
18        agency with defendants, and each of them, at the time of the Subject Collision.
19        B. Damages
20 22.    As a factual and legal result of Defendants’ negligence, carelessness, and
21        reckless disregard for the safety of others, Plaintiff Foss was injured in her
22        health, strength and activity, and sustained injury to her body, nervous system,
23        and person, all of which have caused and continue to cause Plaintiff Foss great
24        mental, physical, and nervous pain and suffering and severe emotional distress.
25 23.    As a factual and legal result of the aforementioned negligence, Plaintiff Foss
26        has suffered damages in an amount which exceeds the minimum jurisdictional
27        limits of this Court, according to proof at time of trial.
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 1 24.    Plaintiff Williams is, and at all timers herein mentioned was, the husband of
 2        Plaintiff Foss and brings his claims for loss of consortium resulting from the
 3        injuries to his wife.
 4 25.    As a direct, proximate and legal result of Defendants’ negligence, carelessness,
 5        and reckless disregard for the safety of others, Plaintiff Williams, has been and
 6        will continue to be deprived of the consortium, love, companionship, comfort,
 7        care, assistance, protection, affection, society, financial contribution, moral
 8        support, and the loss of enjoyment of sexual relations with his wife, Plaintiff
 9        Foss, thereby causing and continuing to cause Plaintiff Williams past and
10        future damages.
11 26.    As a factual and legal result of the aforementioned negligence, Plaintiff
12        Williams has suffered damages in an amount which exceeds the minimum
13        jurisdictional limits of this Court, according to proof at time of trial.
14 27.    Plaintiffs are informed and believe, and based upon such information and
15        belief, allege that said injuries will result in some permanent disability to
16        Plaintiff Foss, all to her general damages in a sum which exceeds the minimum
17        jurisdictional limits of this Court, according to proof at time of trial.
18 28.    As a further factual and legal result of Defendants’ negligence, carelessness,
19        and reckless disregard for the safety of others, Plaintiff Foss was required to
20        and will have to employ physicians for medical examinations, treatments
21        and/or care of said injuries. Plaintiffs will ask leave of court to amend this
22        complaint to set forth the correct amount of medical and incidental expenses
23        when the same are fully and finally ascertained.
24                                        COUNT 1
25    For Negligence by Plaintiff Foss and Against Defendants, and Each of Them
26 29.    Plaintiff Foss repeats and re-alleges paragraphs 1 through 28 above as if set
27        forth fully herein.
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 1 30.     On October 22, 2019, Defendants’ employee, Alyssa Ashley Guerra, a United
 2         States Postal Employee, was operating the Subject Postal Vehicle and made an
 3         unlawful and negligent turn directly in front of Plaintiff Foss’ vehicle, causing
 4         the Subject Collision.
 5 31.     Ms. Alyssa Guerra was working as a postal delivery person employed by
 6         Defendants, and each of them, and acting in the course and scope of his
 7         employment with Defendant USA and DOES 1 to 50, and each of them.
 8 32.     The registered owners of the Subject Postal Vehicle were defendants, and each
 9         of them.
10 33.     The Subject Postal Vehicle was negligently entrusted to Ms. Alyssa Guerra by
11         each and every other defendant.
12 34.     Plaintiff Foss was severely injured in the Subject Collision and has since been
13         required to undergo numerous medical procedures.
14 35.     Defendants breached their duties, without limitation, to avoid placing others in
15         danger, and/or to keep a proper lookout, and/or to exercise reasonable,
16         ordinary care to avoid a collision.
17 36.     The Defendants further negligently serviced, repaired, maintained, and
18         inspected the Subject Postal Vehicle, which proximately caused the injuries
19         herein described.
20 37.     The Defendants further negligently entrusted their vehicles to their operators,
21         which proximately caused the injuries herein described and are further liable to
22         the plaintiff pursuant to, without limitation, California Vehicle Code § 22107.
23 38.     As a direct result of Defendants’ negligence, Plaintiff Foss has suffered
24         damages, which were reasonably foreseeable, in an amount to be determined at
25         trial.
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                                          COMPLAINT FOR DAMAGES

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 1                                          COUNT 2
 2       For Loss of Consortium by Plaintiff Williams and Against Defendants,
 3                                       and Each of Them
 4 39.    Plaintiff Williams repeats and realleges each and every allegation contained in
 5        the prior paragraphs.
 6 40.    Plaintiff Williams and Plaintiff Foss are, and were lawfully married at all times
 7        relevant to this action.
 8 41.    As alleged above, and as a result of the conduct of the Defendants, Plaintiff
 9        Foss sustained severe and permanent injuries and damages.
10 42.    As a direct and proximate result of the aforementioned injuries suffered by
11        Plaintiff Foss, Plaintiff Williams has been deprived, continues to be deprived,
12        and expects to be deprived in the future, of his spouse’s companionship,
13        affection, love, sexual relations, conjugal fellowship, physical assistance in
14        maintaining the family home and comfort for a non-determinable length of
15        time, which deprivation has caused, continues to cause, and in the future is
16        expected to cause Plaintiff Williams to suffer depression, emotional distress,
17        loss of earning capacity, past, present, and future, and other injuries, the full
18        extent of which has not yet been ascertained, but which will be stated
19        according to proof at trial.
20 43.    As a further direct and proximate result of the aforesaid conduct of
21        Defendants, and each of them, Plaintiff Williams has sustained a loss of
22        consortium, love, society, comfort and affection with respect to Plaintiff Foss
23        and has thereby sustained pecuniary loss in a some within the jurisdictional
24        limits of the Court, which will be stated according to proof at trial.
25        WHEREFORE, PLAINTIFFS PRAY FOR RELIEF AS FOLLOWS
26   AGAINST DEFENDANTS, AND EACH OF THEM:
27        a.    For general damages according to proof in an amount exceeding the
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 1              minimum jurisdiction of this court and for special damages including,
 2              without limitation, for medical expenses, medication, future medical
 3              expenses, other out-of-pocket expenses and economic damages, and
 4              damages for loss of consortium in an amount according to proof at time
 5              of trial in excess of $1,000,000.00;
 6        b.    For costs of suit incurred herein; and
 7        c.    For such other and further relief as the court may deem proper.
 8   DATED: July 12, 2022                           CARPENTER & ZUCKERMAN
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11                                          By: /s/ Sark Ohanian
                                               SARK OHANIAN, Esq.
12                                             Attorney for Plaintiffs,
13                                             CECILIE FOSS and CHRISTOPHER
                                               WILLIAMS
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